Case 2:25-cv-02195-LGD Document5 Filed 04/22/25 Page 1of 4 PagelD #: 807

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT
for the

Eastern District of New York

ALEJANDRO HANDAL, Individually and on Behalf of
all Others Similarly Situated,

Plaintiff(s)
V.

TENET FINTECH GROUP INC. F/K/A PEAK
FINTECH GROUP INC., JOHNSON JOSEPH, and
JEAN LANDREVILLE,

Civil Action No. 25-cv-02195-LGD

Nee eee es

Defendant(s)
SUMMONS IN A CIVIL ACTION

TO: (Defendant’s name and address) Tenet Fintech Group Inc. F/K/A Peak Fintech Group Inc.
c/o CT Corporation System
28 Liberty Street
New York, New York 10005

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Jacob A. Goldberg

The Rosen Law Firm, P.A.

101 Greenwood Avenue, Suite 440
Jenkintown, PA 19046

Telephone: (215) 600-2817

Fax: (212) 202-3827

Email: jgoldberg@rosenlegal.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

BRENNA B. MAHONEY
CLERK OF COURT

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Date: 4/22/2025

Signature of Clerk or Deputy Clerk

Case 2:25-cv-02195-LGD Document5 Filed 04/22/25 Page 2 of 4 PagelD #: 808

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name of individual and title, if any)

was received by me on (date)

© I personally served the summons on the individual at (place)

On (date) ; Or

©} I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

On (date) , and mailed a copy to the individual’s last known address; or

C1 Iserved the summons on (name of individual) . who is

designated by law to accept service of process on behalf of (name of organization)

On (date) ; Or
1 Ireturned the summons unexecuted because or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:

a ccc
Case 2:25-cv-02195-LGD Document5 Filed 04/22/25 Page 3 of 4 PagelD #: 809

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Eastern District of New York

ALEJANDRO HANDAL, Individually and on Behalf of
all Others Similarly Situated,

Plaintiff(s)
V.

TENET FINTECH GROUP INC. F/K/A PEAK
FINTECH GROUP INC., JOHNSON JOSEPH, and
JEAN LANDREVILLE,

Civil Action No. 25-cv-02195-LGD

Nee eee es

Defendant(s)
SUMMONS IN A CIVIL ACTION

TO: (Defendant’s name and address) Johnson Joseph
82 Richmond St. E., Suite 305
Toronto, Ontario M5C 1P1
Canada

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
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BRENNA B. MAHONEY
CLERK OF COURT

4/22/2025
Date:

Signature of Clerk or Deputy Clerk

Case 2:25-cv-02195-LGD Document5 Filed 04/22/25 Page 4 of 4 PagelD #: 810

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

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My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:

a ccc
